                                            Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 1 of 8




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                           FORTUNATO LOPEZ JUAREZ,
                                   7                                                        Case No. 16-cv-01984-WHO
                                                         Plaintiff,
                                   8
                                                  v.                                        ORDER DENYING MOTION TO
                                   9                                                        DISMISS AND TO STRIKE
                                           CITIBANK, N.A.,
                                  10                                                        Dkt. No. 13
                                                         Defendant.
                                  11

                                  12                                                INTRODUCTION
Northern District of California
 United States District Court




                                  13            During twelve days in March, 2016, plaintiff Fortunato Juarez alleges that defendant

                                  14   Citibank N.A. telephoned him at least 42 times on his cellular phone, at least three times a day,

                                  15   using an autodialer and/or an artificial or prerecorded voice in an attempt to collect a consumer

                                  16   debt. Complaint (“Compl.”) ¶ 1. (Dkt. No. 1). He repeatedly requested that Citibank stop calling,

                                  17   informing it that he was not the individual it was attempting to contact, but to no avail. Id. ¶ 16. I

                                  18   DENY Citibank’s motion to dismiss Juarez’s class action complaint alleging violations of the

                                  19   Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and California’s

                                  20   Rosenthal Fair Debt Collection Practices Act, Civil Code 1788 et seq. (“Rosenthal Act”), because

                                  21   he has adequately pleaded a “concrete injury” to establish Article III standing on his TCPA claim,

                                  22   is a “debtor” under the Rosenthal Act because Citibank treated him as one, and plausibly alleged

                                  23   that Citibank’s calls were harassing.1

                                  24                                             BACKGROUND

                                  25            Juarez alleges that in March, 2016 Citibank called him at least 42 times on his cellular

                                  26   phone using an autodialer and/or an artificial or prerecorded voice in an attempt to collect a

                                  27

                                  28   1
                                           I also DENY Citibank’s motion to strike Juarez’s class definitions as being premature.
                                          Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 2 of 8




                                   1   consumer debt. Compl. ¶ 1. He did not give Citibank prior written consent to make these calls

                                   2   and repeatedly requested that Citibank stop calling, informing Citibank that he was not the

                                   3   individual it was attempting to contact. Id. ¶ 16. He presents a chart showing that in March, 2016

                                   4   he received 42 calls over the course of 12 days and received at least three calls a day from the

                                   5   same number. Id. ¶ 2. Prior to receiving these calls, he never had any contact with Citibank and

                                   6   did not provide them with his phone number. Id. ¶ 19.

                                   7           Based on these facts, Juarez brings claims under the TCPA and Rosenthal Act on behalf of

                                   8   a putative class. Citibank moved to dismiss and to strike the complaint arguing that Juarez failed

                                   9   to allege standing, failed to state a claim, and used improper fail safe class definitions. I heard oral

                                  10   argument on August 17, 2016.

                                  11                                           LEGAL STANDARD

                                  12       I. MOTION TO DISMISS RULE 12(B)(1)
Northern District of California
 United States District Court




                                  13           A motion to dismiss filed pursuant to Rule 12(b)(1) is a challenge to the court’s subject

                                  14   matter jurisdiction. See Fed. R. Civ. P. 12(b)(1). “Federal courts are courts of limited

                                  15   jurisdiction,” and it is “presumed that a cause lies outside this limited jurisdiction.” Kokkonen v.

                                  16   Guardian Life Ins. of Am., 511 U.S. 375, 377 (1994). Article III restricts federal court jurisdiction

                                  17   to hearing “cases and controvers[ies]” and “[s]tanding to sue or defend is an aspect of the case or

                                  18   controversy requirement.” Arizonans for Official English v. Arizona, 520 U.S. 43, 64 (1997); U.S.

                                  19   Const. Art. III, § 2, cl. 1.

                                  20           The party invoking the jurisdiction of the federal court bears the burden of alleging facts to

                                  21   satisfy the requirements of constitutional standing: a (1) legal injury, (2) caused by the defendant,

                                  22   and (3) capable of legal redress. Schmier v. U.S. Ct. of App. for the Ninth Cir., 279 F.3d 817, 821

                                  23   (9th Cir. 2002).

                                  24       II. MOTION TO DISMISS RULE 12(B)(6)
                                  25           Under Federal Rule of Civil Procedure 12(b)(6), a district court must dismiss a complaint

                                  26   if it fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion to

                                  27   dismiss, the plaintiff must allege “enough facts to state a claim to relief that is plausible on its

                                  28   face.” See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007). A claim is facially plausible
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                                          Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 3 of 8




                                   1   when the plaintiff pleads facts that “allow the court to draw the reasonable inference that the

                                   2   defendant is liable for the misconduct alleged.” See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

                                   3   (citation omitted). There must be “more than a sheer possibility that a defendant has acted

                                   4   unlawfully.” Id. While courts do not require “heightened fact pleading of specifics,” a plaintiff

                                   5   must allege facts sufficient to “raise a right to relief above the speculative level.” See Twombly,

                                   6   550 U.S. at 555, 570.

                                   7            In deciding whether the plaintiff has stated a claim upon which relief can be granted, the

                                   8   Court accepts the plaintiff’s allegations as true and draws all reasonable inferences in favor of the

                                   9   plaintiff. See Usher v. City of Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). However, the court

                                  10   is not required to accept as true “allegations that are merely conclusory, unwarranted deductions of

                                  11   fact, or unreasonable inferences.” See In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                  12   2008).
Northern District of California
 United States District Court




                                  13    III. MOTION TO STRIKE RULE 12(F)
                                  14            Federal Rule of Civil Procedure 12(f) provides that a court “may strike from a pleading an

                                  15   insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R.

                                  16   Civ. P. 12(f). The function of a motion to strike under Rule 12(f) is to avoid the expenditure of

                                  17   time and money that must arise from litigating spurious issues by dispensing of those issues before

                                  18   trial. See Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds,

                                  19   510 U.S. 517 (1994) (citation omitted). Motions to strike “are generally disfavored because they

                                  20   are often used as delaying tactics and because of the limited importance of pleadings in federal

                                  21   practice.” Rosales v. Citibank, 133 F. Supp. 2d 1177, 1180 (N.D. Cal. 2001). In most cases, a

                                  22   motion to strike should not be granted unless “the matter to be stricken clearly could have no

                                  23   possible bearing on the subject of the litigation.” Platte Anchor Bolt, Inc. v. IHI, Inc., 352 F.

                                  24   Supp. 2d 1048, 1057 (N.D. Cal. 2004).

                                  25                                              DISCUSSION

                                  26      I. TCPA STANDING
                                  27            Citibank argues that Juarez’s TCPA claims must be dismissed on the ground that he lacks

                                  28   Article III standing under Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016) because he has not
                                                                                          3
                                           Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 4 of 8




                                   1   alleged facts demonstrating any concrete injury relating to the phone calls. To establish standing

                                   2   under Spokeo, a plaintiff bringing a claim based on a statutory violation must still allege a concrete

                                   3   and particularized injury as a “plaintiff does not automatically satisfy the injury-in-fact

                                   4   requirement whenever a statute grants a right and purports to authorize a suit to vindicate it.” Id.

                                   5   at 1549. Citibank argues that Juarez has failed to show any “concrete harm” or injury as a result

                                   6   of its phone calls and has simply alleged a bare procedural violation. Mot. 1. Juarez rebuts that he

                                   7   has alleged that he and the putative class members were “harmed by the acts of Defendant in the

                                   8   form of multiple involuntary telephone and electrical charges, the aggravation, nuisance, and

                                   9   invasion of privacy that necessarily accompanies the receipt of unsolicited and harassing telephone

                                  10   calls, and violations of their statutory right.” Opposition (“Oppo.”) 5.

                                  11          Several courts have addressed whether a plaintiff’s allegations that she received annoying

                                  12   and unwanted phone calls in violation of the TCPA is sufficient to establish Article III standing
Northern District of California
 United States District Court




                                  13   since Spokeo was decided. See, e.g., Booth v. Appstack, Inc., No. c-13-1533, 2016 WL 3030256,

                                  14   *3 (W.D. Wash. May 24, 2016); Rogers v. Capital One Bank (USA), N.A., No. 15-cv-4016, 2016

                                  15   WL 3162592, *2 (N.D. Ga. Jun. 03, 2016); Romero v. Dep’t Stores Nat’l Bank, No. 15-cv-193,

                                  16   2016 WL 4184099, (S.D. Cal. Aug. 5, 2016). These courts have not reached a consensus on

                                  17   whether such calls constitute a “concrete injury” necessary to establish Article III standing.

                                  18          For example, in Booth, the court found standing where defendant Appstack used an

                                  19   autodialing system to call thousands of phone numbers to promote its products. 2016 WL

                                  20   3030256 at *3. The court concluded plaintiffs had adequately alleged a concrete injury as “the

                                  21   TCPA and WADAD2 violations alleged here, if proven, required Plaintiffs to waste time

                                  22   answering or otherwise addressing widespread robocalls.” Id. at *6. Similarly, in Rogers, the

                                  23   court found there was standing where plaintiffs received unwanted phone calls from Capital One,

                                  24   ranging from two to forty calls per plaintiff, which continued even though each plaintiff instructed

                                  25   Capital One to stop calling. 2016 WL 3162592 at *1. The court concluded that because plaintiffs’

                                  26   phones were “unavailable for legitimate use during the unwanted calls” they had “alleged

                                  27
                                       2
                                  28    “WADAD” refers to the Washington Dialing and Announcing Device Act which prohibits the
                                       use of robocalls and automatic dialing for commercial solicitation. WASH. REV. CODE § 80.36.400
                                                                                      4
                                          Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 5 of 8




                                   1   sufficient facts to support standing.” Id. at *2.

                                   2          In contrast, in Romero, the court found that a plaintiff, who had received 272 phone calls

                                   3   from a debt collector, could not establish standing under the TCPA because she could not show

                                   4   that any individual phone call had caused sufficient lost time, aggravation, and distress to

                                   5   constitute a concrete injury. Romero, 2016 WL 4184099 at *4.

                                   6          I am persuaded by Booth and Rogers. Although I agree with Citibank that Juarez cannot

                                   7   establish standing based on a bare violation of the TCPA, Juarez has pleaded sufficient facts to

                                   8   show that the unwanted calls he received were an annoyance that caused him to waste time. This

                                   9   does not mean any violation of the TCPA will necessarily give rise to Article III standing–for

                                  10   example calls made to a neglected phone that go unnoticed or calls that are dropped before they

                                  11   connect may violate the TCPA but not cause any concrete injury. But here, Juarez has alleged that

                                  12   he received at least 42 unwanted and unsolicited phone calls from Citibank, getting multiple calls
Northern District of California
 United States District Court




                                  13   a day. Compl. ¶ 1. He has further alleged that he “repeatedly requested that Defendant stop

                                  14   calling, informing Defendant that he was not the individual they were attempting to contact” but

                                  15   that Citibank continued calling. Id. ¶ 16. Based on these allegations, it appears that Juarez wasted

                                  16   his own time and energy dealing with the unwanted phone calls. Even a single phone call can

                                  17   cause lost time, annoyance, and frustration. This is especially plausible where the recipient

                                  18   receives repeated, regular phone calls from the same number and asks the caller to stop, but due to

                                  19   the call pattern, nevertheless worries about and anticipates additional calls. Juarez’s allegation

                                  20   that he received repeated unwanted calls that caused him aggravation, nuisance, and an invasion of

                                  21   privacy, is sufficient to allege a “concrete” and “particularized” injury that establishes standing

                                  22   under Spokeo.

                                  23      II. ROSENTHAL ACT STANDING
                                  24          Citibank argues that Juarez lacks standing to sue under the Rosenthal Act because recovery

                                  25   is limited to a “debtor” and Juarez does not meet the Act’s definition of the term. Mot. 7. The

                                  26   Rosenthal Act defines “debtor” as “a natural person from whom a debt collector seeks to collect a

                                  27   consumer debt that is due or owing or alleged to be due and owing from such person.” Cal. Civ.

                                  28   Code § 1788.2. In his complaint, Juarez alleges that Citibank “called Mr. Juarez at least 42 times
                                                                                           5
                                          Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 6 of 8




                                   1   on his cellular telephone . . . in an attempt to collect a consumer debt” and that it “engaged in a

                                   2   campaign of harassment in an attempt to coerce payment of a consumer debt.” Compl. ¶¶ 1, 4.

                                   3   He also alleges that he “repeatedly requested that Defendant stop calling, informing Defendant

                                   4   that he was not the individual they were attempting to contact.” Id. ¶ 16. Based on these

                                   5   allegations it appears that Citibank contacted Juarez “seek[ing] to collect a consumer debt . . .

                                   6   alleged to be due and owing from [Juarez].” Cal. Civ. Code § 1788.2.

                                   7          Citibank points to Sanchez v. Client Services, Inc. and People v. Persolve, LLC, as cases

                                   8   demonstrating that only the person “who actually or allegedly owes the debt at issue” can bring a

                                   9   claim under the Rosenthal Act. Sanchez v. ClientServs., Inc., 520 F. Supp. 2d 1149, 1155 n.3

                                  10   (N.D. Cal. 2007); Persolve, LLC., 218 Cal. App. 4th 1267, 1272 n.1 (2013). Neither of these

                                  11   cases resolves the dispute here, where Juarez claims that Citibank contacted him and alleged he

                                  12   owed a debt; in Sanchez it was clear that only the plaintiff’s mother was alleged to owe a debt, and
Northern District of California
 United States District Court




                                  13   in Persolve LLC the State of California brought claims on behalf of California debtors and did not

                                  14   face individual standing issues.

                                  15          In Masuda v. Citibank, N.A., the Hon. Phyllis Hamilton assessed whether a plaintiff had

                                  16   standing under the Rosenthal Act in nearly identical circumstances. 38 F. Supp. 3d 1130, 1133

                                  17   (N.D. Cal. 2014). There, a plaintiff alleged that “he received over 300 calls from Citibank seeking

                                  18   to collect on a Citibank Mastercard consumer credit card” that did not belong to him. Id. at 1132.

                                  19   The court found that the plaintiff “ha[d] standing to bring an action under the Rosenthal Act

                                  20   because he fits perfectly well into the second classification of debtor—those who are alleged to

                                  21   have a consumer debt due and owing.” Id. at 1133. Judge Hamilton’s analysis from Masuda is

                                  22   persuasive. I conclude, on the facts alleged, that Juarez is a “debtor” under the Rosenthal Act’s

                                  23   definition and has standing to bring his Rosenthal Act claim.

                                  24     III. ROSENTHAL ACT SUFFICIENCY OF CLAIM
                                  25          Juarez bring his Rosenthal Act claim under sections 1788.11 (d) and (e) which prohibit a

                                  26   debt collector from causing a telephone to “ring repeatedly or continuously to annoy” and from

                                  27   communicating with a debtor with “such frequency as to be unreasonable and to constitute an

                                  28   harassment to the debtor under the circumstances.” Cal. Code §§ 1788.11 (d) and (e).
                                                                                          6
                                          Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 7 of 8




                                   1          Citibank argues that Juarez fails to state a claim under the act because he alleges only that

                                   2   he received a large number of calls and makes no allegations “regarding the content of any call” or

                                   3   that any calls “were accompanied by abusive or threatening messages.” Mot. 7. Citibank points

                                   4   to a number of cases in support of its claim that “the number of calls alone is not sufficient and

                                   5   cannot itself constitute harassment.” See, e.g., Snyder v. Nationstar Mortg. LLC, No. 15-cv-

                                   6   03049-JSC, 2015 WL 7075622, at *7 (N.D. Cal. Nov. 13, 2015) (“A plaintiff must allege more

                                   7   than a defendant’s ‘communications’ or a ‘high volume of phone calls’ to state a claim under the

                                   8   RFDCPA.”) (internal citation omitted).

                                   9          But Juarez has done far more than allege he received a certain number of phone calls. In

                                  10   addition to alleging that he received 42 calls, Juarez has included a chart detailing the precise date

                                  11   and time he received these calls over the course of 12 days. Compl. ¶ 2. This chart demonstrates

                                  12   a pattern of calls in that Juarez received multiple calls a day, every day, for a 12 day period. Id.
Northern District of California
 United States District Court




                                  13          Juarez also alleges that he “repeatedly requested that Defendant stop calling, informing

                                  14   Defendant that he was not the individual they were attempting to contact. Defendant’s calls

                                  15   continued despite Plaintiff’s requests.” Id. at 16. While there is no bright-line rule as to what

                                  16   conduct is sufficient to establish harassment under the Rosenthal Act, courts have found that

                                  17   calling an individual after learning or being informed that they do not owe the debt at issue

                                  18   “plausibly constitutes behavior whose natural consequence was to harass, oppress, or abuse.”

                                  19   Crockett v. Rash Curtis & Assoc., 929 F. Supp. 2d 1030, 1032 (N.D. Cal. 2013) (finding

                                  20   harassment plausible where debt collector “very likely received notice from the contents of

                                  21   plaintiff’s outgoing answering-machine message . . . that it was calling the wrong number.”); see

                                  22   also Clark v. Capital Credit & Collection Servs., Inc., 460 F.3d 1162, 1178 (9th Cir. 2006) (where

                                  23   the debt collector knew the debt “was invalid, the natural consequence of repeatedly calling

                                  24   [plaintiff] to demand payment of that debt was to ‘harass, oppress, or abuse.’ ”).

                                  25          Because Juarez alleges that Citibank called him multiple times a day, every day for close to

                                  26   two weeks and did not stop calling despite Juarez informing Citibank that he was not the

                                  27   individual they were attempting to contact, he has plausibly alleged that Citibank engaged in

                                  28   harassing behavior under sections 1788.11 (d) and (e). Citibank’s motion to dismiss Juarez’s
                                                                                          7
                                          Case 3:16-cv-01984-WHO Document 30 Filed 09/01/16 Page 8 of 8




                                   1   Rosenthal Act claim is DENIED.

                                   2      IV. CLASS DEFINITIONS
                                   3          Citibank moves to strike Juarez’s class definitions on the basis that they create improper

                                   4   “fail-safe” classes. This motion is premature. See Yastrab v. Apple Inc., 2015 WL 1307163, at *

                                   5   (N.D. Cal. Mar. 23, 2015) (“[I]n general, class allegations are not tested at the pleading stage.”);

                                   6   Cruz v. Sky Chefs, Inc., 2013 WL 1892337, at *5 (N.D. Cal. May 6, 2013) (“[C]lass allegations

                                   7   are better addressed through a class certification motion, after the parties have had an opportunity

                                   8   to conduct some discovery.”): Morris v. SolarCity Corp., No. 15-cv-05107-RS, 2016 WL

                                   9   1359378, *3 (N.D. Cal. Apr. 6, 2016) (“While class allegations may be stricken at the pleading

                                  10   stage in the appropriate case, doing so is not warranted here. . . . [as defendant] has not presented

                                  11   any argument that would completely preclude class certification.”). Citibank’s motion to strike

                                  12   Juarez’s class definitions is DENIED.
Northern District of California
 United States District Court




                                  13                                             CONCLUSION

                                  14          For the reasons outline above, Citibank’s motion to dismiss is DENIED. Juarez (1)

                                  15   adequately pleaded a “concrete injury” to establish Article III standing on his TCPA claim, (2) is a

                                  16   “debtor” under the Rosenthal Act, and (3) has pleaded sufficient facts to allege that Citibank’s

                                  17   phone calls were intended to harass. Citibank’s motion to strike Juarez’s class definitions is

                                  18   DENIED as it is not ripe at this stage of the litigation. Citibank shall answer within fourteen days

                                  19   of the date below.

                                  20          IT IS SO ORDERED.

                                  21   Dated: September 1, 2016

                                  22                                                    ______________________________________
                                                                                        WILLIAM H. ORRICK
                                  23                                                    United States District Judge
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